                                        Case 3:22-cv-00047-KGB Document 13 Filed 08/08/22 Page 1 of 121



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                                   4   E-mail: bphillips@phillipslawcorporation.com
                                   5   Attorneys for Defendant VERCY L.L.C.
                                   6

                                   7

                                   8                                UNITED STATES DISTRICT COURT
                                   9                                EASTERN DISTRICT OF ARKANSAS
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                       VIRGINIA JOHNSON-GRUVER,                        Case No.: 3:22-cv-00047KGB
                                  11   individually and on behalf of all other
                                       similarly situated,
                                  12                                                   NOTICE OF FILING OF MOTION TO
                                                                                       TRANSFER AND CONSOLIDATE
                                  13                  Plaintiff,                       PENDING ACTIONS BY DEFENDANT
                                                                                       VERCY, L.L.C.
                                  14
                                                v.
                                  15

                                  16                                                   Judge:             Hon. Kristine G. Baker
                                       VERCY L.L.C.,                                   Courtroom:         4D
                                  17                                                   Complaint Filed:   February 25, 2022
                                                                                       Trial Date:        None
                                  18                  Defendants.
                                  19

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                                             NOTICE OF FILING OF MOTION TO TRANSFER AND CONSOLIDATE PENDING ACTIONS BY
                                                                       DEFENDANT VERCY, L.L.C.
                                       Case 3:22-cv-00047-KGB Document 13 Filed 08/08/22 Page 2 of 121



                                   1          Defendant VERCY, L.L.C. (“Vercy”), by and through undersigned counsel, hereby
                                   2   notifies the Court that in accordance with Rule 6.2(a) of the Rules of Procedure for the United
                                   3   States Judicial Panel on Multidistrict Litigation, Vercy has filed a Motion to Transfer and
                                   4   Consolidate this action for pretrial purposes in the United States Judicial Panel on Multidistrict
                                   5   Litigation pursuant to 28 U.S.C. § 1407(c)(ii).        A copy of the motion, the documents
                                   6   concurrently filed therewith are attached to this Notice as Exhibit “A”.
                                   7
                                                                                     PHILLIPS LAW CORPORATION
                                   8




                                                                                           Brent R. Phillips
                                   9
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
                                       DATED: August 8, 2022
      SANTA ANA, CA 92705




                                                                                     By:
                                  11                                                        BRENT R. PHILLIPS
                                                                                            Attorneys for Defendant VERCY, L.L.C.
                                  12

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                                          NOTICE OF FILING OF MOTION TO TRANSFER AND CONSOLIDATE PENDING ACTIONS BY
                                                                    DEFENDANT VERCY, L.L.C.
                                       Case 3:22-cv-00047-KGB Document 13 Filed 08/08/22 Page 3 of 121



                                   1                                   CERTIFICATE OF SERVICE
                                   2           I am a resident of the State of California, over the age of eighteen years, and not a party
                                   3   to the within action. My business address is PHILLIPS LAW CORPORATION, 801 Parkcenter
                                       Drive, Suite 801, Santa Ana, California 92705.
                                   4

                                   5            On August 8, 2022, I served by electronic service through the United States District
                                       Court for the Eastern District of Arkansas CM/ECF electronic filing system to the following
                                   6   parties:

                                   7   Jason Ryburn, Esq.                                Attorneys      for     Plaintiff    VIRGINIA
                                       RYBURN LAW FIRM                                   JOHNSON-GRUVER individually and on
                                   8   650 S. Shackleford Road, Suite 231                behalf of all other similarly situated
                                       Little Rock, AR 72211
                                   9   Tel: (501) 228-8100
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                                       Fax: (501) 228-7300
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                                  10
                                       E-mail: jason@ryburnlawfirm.com
      SANTA ANA, CA 92705




                                  11
                                       Anthony I. Paronich, Esq.
                                  12   PARONICH LAW P.C.
                                       350 Lincoln Street, Suite 2400
                                  13   Hingham, MA 02043
                                  14   Tel: (617) 485-0018
                                       Fax: (508) 318-8100
                                  15   E-mail: anthony@paronichlaw.com

                                  16

                                  17   the following document(s) listed below:
                                  18   NOTICE OF FILING OF MOTION TO TRANSFER AND CONSOLIDATE PENDING
                                       ACTIONS BY DEFENDANT VERCY, L.L.C.
                                  19
                                               [State] I declare under penalty of perjury under the laws of the State of California that
                                  20          the above is true and correct.
                                  21           [Federal] I declare that I am employed in the office of a member of the bar of this
                                              Court at which direction the service was made.




                                                                                 Brent R. Phillips
                                  22
                                              Executed on August 8, 2022, at Santa Ana, California.
                                  23

                                  24                                                ______________________________
                                                                                    Brent R. Phillips
                                  25

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                                  27

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                                          NOTICE OF FILING OF MOTION TO TRANSFER AND CONSOLIDATE PENDING ACTIONS BY
                                                                    DEFENDANT VERCY, L.L.C.
Case 3:22-cv-00047-KGB Document 13 Filed 08/08/22 Page 4 of 121




       EXHIBIT A
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                                Pending No. 98 Document
                                                               Document 113 Filed
                                                                             Filed08/08/22
                                                                                   08/08/22 Page
                                                                                             Page1 5ofof3 121



                                   1   Brent R. Phillips (SBN 235753)
                                       Ronald A. Gorrie (SBN 180477)
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                                   5
                                       Attorneys for Defendant VERCY L.L.C.
                                   6

                                   7

                                   8                      BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                              ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
                                  11

                                  12                                                   VERCY, L.L.C.’S NOTICE OF MOTION
                                                                                       AND MOTION TO TRANSFER AND
                                  13   IN RE VERCY, L.C.C. TELEPHONE                   CONSOLIDATE FOR PRETRIAL
                                       CONSUMER PROTECTION ACT                         PROCEEDINGS
                                  14   LITIGATION
                                  15

                                  16

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                                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                  21
                                              PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. § 1407(c)(ii), VERCY, L.C.C.
                                  22
                                       (“Vercy”) moves to transfer and consolidate to the United States District Court for the Central
                                  23
                                       District of California, Southern Division the four (4) cases listed in the Schedule of Actions
                                  24
                                       (collectively the “Pending Actions”) filed herewith. This Motion is made on the grounds that the
                                  25
                                       Pending Actions involve common questions of fact and transfer and consolidation will serve the
                                  26
                                       convenience of the parties and witnesses and will promote the just and efficient conduct of the
                                  27
                                       cases on the following grounds:
                                  28

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                                                   VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
                                                              CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                             3:22-cv-00047-KGB
                                                 Pending No. 98 Document
                                                                Document 113 Filed
                                                                              Filed08/08/22
                                                                                    08/08/22 Page
                                                                                              Page2 6ofof3 121



                                   1          •   The Pending Actions involve common questions of fact on the grounds that each of the
                                   2              Pending Actions is virtually identical.1 There are multiple common questions of fact.
                                   3              This is because the only causes of actions alleged in the Pending Actions are for or
                                   4              based on violations of the Telephone Consumer Protection Act (the “TCPA”), § 47
                                   5              U.S.C. 227 and are based identical factual allegations.
                                   6          •   Transfer and consolidation under Section 1407 of the Pending Actions serves the
                                   7              convenience of the parties and witnesses in that it will facilitate the efficient conduct of
                                   8              common discovery and eliminate duplicative discovery, prevent inconsistent pretrial
                                   9              discovery rulings and conserve the resources of the parties, their counsel and the
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                                  10              judiciary during the discovery process.
      SANTA ANA, CA 92705




                                  11          •   Transfer and consolidation under Section 1407 of the Pending Actions to the Southern
                                  12              Division for the Central District of California serves the convenience of the parties and
                                  13              witnesses on the grounds that the underlying claims arose, the location of documents,
                                  14              the majority of the witnesses relevant to the underlying claims are located in the
                                  15              Southern Division for the Central District, and two of the four Pending Actions are
                                  16              pending in the Southern Division.
                                  17          •   Three (3) the Pending Actions are class action cases. Transfer and consolidation under
                                  18              Section 1407 of the Pending Actions to the Southern Division for the Central District
                                  19              will promote the just and efficient conduct of the Pending Actions due to the risk of
                                  20              conflicting and inconsistent class determinations under Rule 23 by courts in different
                                  21              jurisdictions as well as inconsistent or conflicting rulings on dispositive motions. The
                                  22              Judicial Panel has stated on multiple occasions that class action cases under Federal
                                  23              Rule 23 present highly persuasive if not compelling cases for transfer and
                                  24              consolidation under Section 1407 due to the risk of inconsistent class determinations
                                  25              by different courts.
                                  26   ///
                                  27
                                       1
                                  28    Three (3) of the Pending Actions are class action cases. The complaints filed in the class action cases are
                                       almost identical and drafted from what appears to be a common form pleading.
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                                                     VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
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                                            3:22-cv-00047-KGB
                                                Pending No. 98 Document
                                                               Document 113 Filed
                                                                             Filed08/08/22
                                                                                   08/08/22 Page
                                                                                             Page3 7ofof3 121



                                   1         This Motion is based on this Notice of Motion and Motion, the Memorandum of Points
                                   2   and Authorities, and Schedule of Actions filed herewith, all documents on file with the Court,
                                   3   and such other argument that may be presented at a hearing on this Motion.
                                   4                                               PHILLIPS LAW CORPORATION




                                                                                         Brent R. Phillips
                                   5

                                   6

                                   7   DATED: August 8, 2022                       By:
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                                  10                                                       E-mail: bphillips@phillipslawcorporation.com
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                                  11                                                       Attorneys for Defendant
                                                                                           VERCY, LLC
                                  12

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                                                   VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
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                                                                           Filed08/08/22
                                                                                 08/08/22 Page
                                                                                          Page18of
                                                                                                of9121



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                                       Ronald A. Gorrie (SBN 180477)
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                                   5
                                       Attorneys for Defendant VERCY L.L.C.
                                   6

                                   7

                                   8                       BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                                ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                         MDL Case No.:
                                  11

                                  12                                                     MEMORANDUM OF POINTS AND
                                                                                         AUTHORITIES IN SUPPORT OF VERCY,
                                  13   IN RE VERCY, L.C.C. TELEPHONE                     L.L.C.’S MOTION TO TRANSFER AND
                                       CONSUMER PROTECTION ACT                           CONSOLIDATE FOR PRETRIAL
                                  14   LITIGATION                                        PROCEEDINGS
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                                                                                        I.
                                  21
                                                             INTRODUCTION / SUMMARY OF ARGUMENT
                                  22
                                              Pursuant to 28 U.S.C. § 1407, VERCY, L.L.C. (“Vercy”) moves to transfer and
                                  23
                                       consolidate to the Federal District Court for the Central District of California, Southern Division
                                  24
                                       four cases (the “Pending Actions”). Three of the cases are class action cases. Section 1407
                                  25
                                       provides for the transfer and consolidation of pending civil actions for pretrial proceedings to
                                  26
                                       Multidistrict Litigation proceedings when (1) there is one or more common questions of fact
                                  27
                                       between civil actions pending in different districts; (2) the transfer will be for the convenience of
                                  28

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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                               Document1-1
                                                                        13 Filed
                                                                           Filed08/08/22
                                                                                 08/08/22 Page
                                                                                          Page29of
                                                                                                of9121



                                   1   the parties and witnesses; and, (3) the transfer will promote the just and efficient conduct of the
                                   2   actions to be consolidated.
                                   3          First, there are multiple common questions of fact between the Pending Actions. As
                                   4   reflected in the complaints attached as exhibits, each of the Pending Actions is virtually identical.
                                   5   The only causes of action alleged are for or based on alleged violations of Telephone Consumer
                                   6   Protection Act (the “TCPA”), § 47 U.S.C. 227 and are based on almost the same factual
                                   7   allegations.
                                   8          Second, transfer and consolidation under Section 1407 of the Pending Actions serves the
                                   9   convenience of the parties and witnesses in that it will facilitate the efficient conduct of common
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                                  10   discovery. The discovery in the Pending Actions will be identical because each of the Pending
      SANTA ANA, CA 92705




                                  11   Actions alleges the same causes of action for violations of the TCPA based on the same factual
                                  12   allegations. Transfer and consolidation will eliminate duplicative discovery, prevent inconsistent
                                  13   pretrial discovery rulings and conserve the resources of the parties, their counsel and the
                                  14   judiciary during the discovery process.
                                  15          Third, transfer and consolidation to the Southern Division for the Central District of
                                  16   California serves the convenience of the parties and witnesses on the grounds that the underlying
                                  17   claims arose, the location of documents, the majority of the witnesses relevant to the underlying
                                  18   claims are located in the Southern Division, and two of the four Pending Actions are pending in
                                  19   the Southern Division.
                                  20          Fourth, transfer and consolidation will promote the just and efficient conduct of the
                                  21   Pending Actions due to the high risk of conflicting and inconsistent rulings by multiple courts on
                                  22   the same issues. To begin with, three of the cases are class action cases. There is the risk of
                                  23   conflicting and inconsistent class determinations under Rule 23 by courts in different
                                  24   jurisdictions. The Judicial Panel has stated on multiple occasions that class action cases under
                                  25   Federal Rule 23 present highly persuasive if not compelling cases for transfer and consolidation
                                  26   under Section 1407 due to the risk of inconsistent class determinations by different courts.
                                  27   Moreover, the outcome of the parties’ dispositive motions should be consistent in that the facts
                                  28   and law upon which the Pending Actions are based are identical. There is the risk of inconsistent

                                                                                       -2-
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 10
                                                                                              3 ofof9121



                                   1   and conflicting rules on dispositive motions based on the same facts and law were the Pending
                                   2   Actions to proceed for pretrial purposes separately.
                                   3           Because the Pending Actions involve common questions of fact and transfer and
                                   4   consolidation will serve the convenience of the parties and witness and promote the just and
                                   5   efficient conduct of the Pending Actions, Vercy’s Motion to Transfer and Consolidate the
                                   6   Pending Actions to the Southern Division of the Federal District Court for the Central District of
                                   7   California should be GRANTED.
                                   8                                                     II.
                                   9                                      FACTUAL BACKGROUND
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                                  10   A.      Vercy’s Services
      SANTA ANA, CA 92705




                                  11           Vercy is a tax relief service with its offices located in Orange County, California. Vercy
                                  12   represents taxpayers with tax debts to negotiate with the United States Internal Revenue Service
                                  13   (the “IRS”) their tax debt and qualify for one of the tax relief programs offered by the IRS.
                                  14   Vercy uses the Internet, direct mail, and telemarketing to solicit clients for its tax relief services.
                                  15   B.      The Pending Actions
                                  16           Between February 25, 2022 and June 29, 2022, the Pending Actions were filed against
                                  17   Vercy. The only causes of action alleged in the Pending Actions are for or based on alleged
                                  18   violations of the Telephone Consumer Protection Act (the “TCPA”), § 47 U.S.C. 227. Three of
                                  19   the Pending Actions are class action lawsuits. The Pending Actions include two cases in the
                                  20   Central District of California, one case in the Eastern District of Arkansas, and one case in the
                                  21   Western District of Texas.
                                  22           The TCPA regulates and places restrictions on telemarketing business solicitations. The
                                  23   complaints allege virtually identical allegations that Vercy violated that TCPA by (1) Using an
                                  24   automatic telephone dialing system to initiate a call to plaintiff’s cellular phone; (2) Called
                                  25   plaintiff when plaintiff’s phone number was on the National “Do-Not-Call” (“DNC”) Registry
                                  26   maintained by the Federal Trade Commission; (3) Initiated a telephone call to plaintiff using an
                                  27   artificial or prerecorded voice to deliver a message; (4) Vercy did not have plaintiff’s prior
                                  28   written consent to make the call or have an established business relationship with plaintiff; and,

                                                                                         -3-
                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                  TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 11
                                                                                              4 ofof9121



                                   1   (5) Vercy’s violations of the TCPA were knowing and willful.1
                                   2                                                       III.
                                   3                                    ARGUMENT AND AUTHORIES.
                                   4   A.      Standard For Consolidation And Transfer
                                   5           28 U.S.C. § 1407 provides for the transfer and consolidation of pending civil actions for
                                   6   pretrial proceedings to Multidistrict Litigation proceedings when (1) there is one or more
                                   7   common questions of fact between civil actions pending in different districts; (2) the transfer will
                                   8   be for the convenience of the parties and witnesses; and, (3) the transfer will promote the just and
                                   9   efficient conduct of the actions to be consolidated. 28 U.S.C.A. § 1407(a) (West 2022); see also
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                                  10   In re Asbestos Prod. Liability. Litig. (No. VI), 771 F. Supp. 415 (J.P.M.L. 1991); In re
      SANTA ANA, CA 92705




                                  11   Griseofulvin Antitrust Litig., 395 F. Supp. 1402, 1403 (J.P.M.L. 1975).
                                  12           1.      The Pending Actions Raise The Exact Same Questions Of Fact
                                  13           Each of the cases filed against Vercy is virtually identical.2 Each of the complaints
                                  14   alleges one or more causes of action for violations of the TCPA or causes of action where the
                                  15   underlying facts and liability are based on a violation of the TCPA. The cases raise the exact
                                  16   same questions of fact of whether Vercy violated the TCPA when it allegedly called plaintiffs.
                                  17   These questions of fact include: (1) Whether Vercy used an automatic telephone dialing system
                                  18   to initiate a call to plaintiffs’ cellular phone; (2) Whether Vercy called plaintiffs when their
                                  19   phone numbers were on the DNC Registry; (3) Whether Vercy knew that plaintiffs’ phone
                                  20   numbers were listed on the DNC; (4) Whether Vercy initiated a telephone call to plaintiffs using
                                  21   an artificial or prerecorded voice to deliver a message; (5) Whether or not Vercy had plaintiffs’
                                  22   prior written consent to make the calls or had an established business relationship with plaintiffs;
                                  23

                                  24   1
                                        In Shane Scofield v. Vercy, L.L.C., California Central District case number 8:22-cv-01376, plaintiff
                                  25   alleges a cause of action based on a violation of the California Business & Professions Code § 17200. In
                                       Erik Salaiz v. Vercy, L.L.C., et al., Western Texas District case number 3:22-cv-00224, plaintiff alleges a
                                  26   cause of action based on a violation of the Texas Business & Commerce Code § 305.053. In both cases,
                                       plaintiffs’ state law causes of action are not based on facts or legal theories separate from the alleged
                                  27   TCPA violations. The causes of action are entirely based on alleged violations of the TCPA.
                                       2
                                  28    Counsel for the class action cases appear to have filed almost identical complaints.

                                                                                           -4-
                                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                    TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 12
                                                                                              5 ofof9121



                                   1   and, (6) Whether Vercy’s alleged violations of the TCPA were knowing and willful.3
                                   2           2.      Transfer And Consolidation Of The Pending Actions In The United States
                                   3                   District Court For The Central District Of California Will Serve The
                                   4                   Convenience Of The Parties And Witnesses
                                   5                   a.      Transfer And Consolidation Will Serve The Convenience Of The
                                   6                           Parties And Witnesses By Facilitating The Efficient Conduct of
                                   7                           Discovery
                                   8           The primary factor when determining if transfer and consolidation under Section 1407
                                   9   will be for the convenience of the parties and witnesses is whether transfer and consolidation is
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                                  10   necessary to facilitate the efficient conduct of common discovery. In re Mirena IUS
      SANTA ANA, CA 92705




                                  11   Levonorgestrel-Related Prod. Liab. Litig. (No. II), 249 F.Supp.3d 1357, 1360 (J.P.L.M. 2017); In
                                  12   re: Wright Medical Tech. Inc. v. Conserve Hip Implant Products Liability Litig., 844 F.Supp.2d
                                  13   1371, 1372 (J.P.L.M. 2012) (noting that transfer is warranted where centralization of discovery
                                  14   will eliminate duplicative discovery, prevent inconsistent pretrial rulings on discovery); In re
                                  15   Tri-State Water Rights. Litig., 481 F.Supp.2d 1351, 1352 (J.P.M.L. 2007). The Judicial Panel
                                  16   has consistently emphasized the need for centralization to eliminate duplicative discovery,
                                  17   prevent inconsistent pretrial discovery rulings in order to conserve the resources of the parties,
                                  18   their counsel and the judiciary. In re: TLI Commc'ns LLC Pat. Litig., 26 F.Supp.3d 1396, 1397
                                  19   (J.P.M.L. 2014); In re: £Maxim Integrated Prod., Inc., Pat. Litig., 867 F.Supp.2d 1333, 1334-35
                                  20   (J.P.M.L. 2012).
                                  21           Here, there is no question that transfer and consolidation under Section 1407 of the
                                  22   Pending Actions will facilitate the efficient conduct of common discovery. The Pending Actions
                                  23   share common issues of fact regarding Vercy’s alleged telephone solicitation and will involve
                                  24   the exact same factual discovery. The exact same documents will be produced in each of the
                                  25
                                       3
                                  26    In Shane Scofield v. Vercy, L.L.C., California Central District case number 8:22-cv-01376, plaintiff
                                       alleges a cause of action based on a violation of the California Business & Professions Code § 17200. In
                                  27   Erik Salaiz v. Vercy, L.L.C., et al., Western Texas District case number 3:22-cv-00224, plaintiff alleges a
                                       cause of action based on a violation of the Texas Business & Commerce Code § 305.053. In both cases,
                                  28   plaintiffs’ state law causes of action are not based on facts or legal theories separate from the alleged
                                       TCPA violations. The causes of action are entirely based on alleged violations of the TCPA.
                                                                                          -5-
                                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
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                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 13
                                                                                              6 ofof9121



                                   1   Pending Actions. The exact same witnesses will be deposed in each of the Pending Actions.
                                   2   The exact same interrogatories will be propounded in each of the Pending Actions. The transfer
                                   3   and consolidation of the Pending Actions will eliminate duplicative discovery. It will also
                                   4   prevent inconsistent pretrial rulings on discovery and conserve the resources of the parties, their
                                   5   counsel and the judiciary.
                                   6                  2.      Transfer And Consolidation Serves The Convenience Of The Parties
                                   7                          And Witnesses Because The Relevant Documents And Witnesses Are
                                   8                          Located In The Central District Of California
                                   9          The Judicial Panel considers where the underlying claims arose, the location of
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                                  10   documents and the majority of the witnesses relevant to the underlying claims are located to
      SANTA ANA, CA 92705




                                  11   determine if pending cases should be consolidated and transferred to a particular federal district
                                  12   court. In re Equity Funding Corp. of America Securities Litig., 375 F.Supp. 1378, 1387 (J.P.M.L.
                                  13   1973). Transfer and consolidation under Section 1407 to the district where the claims arose, and
                                  14   relevant documents and witnesses are located best serves the convenience of the parties and
                                  15   witnesses and promote the just and efficient conduct of the litigation. Id.
                                  16          Here, the Pending Actions should be consolidated and transferred to the Southern
                                  17   Division for the Central District of California for the convenience of the parties and witnesses
                                  18   and promote the just and efficient conduct of the ligation for multiple reasons. First, two of the
                                  19   class actions are pending in the Southern Division for the Central District. Second, Vercy is a
                                  20   California limited liability company with its offices in the Southern Division. Third, Vercy’s
                                  21   employees and other witnesses reside in the Southern Division for the Central District. Fourth,
                                  22   all of the documents to be produced by Vercy and reviewed by counsel are located in the
                                  23   Southern Division Central District.      Moreover, transfer and consolidation in the Southern
                                  24   Division for the California Central District imposes no burden on plaintiffs because “a Section
                                  25   1407 transfer is for pretrial proceedings only, there is usually no need for the parties and
                                  26   witnesses to travel to the transferee district for depositions or otherwise.” In re Bristol Bay,
                                  27   Alaska, Salmon Fishery Antitrust Litig., 424 F.Supp. 504, 506 (J.P.M.L. 1976).
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                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                  TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 14
                                                                                              7 ofof9121



                                   1          3.        Transfer And Consolidation Will Promote The Just And Efficient Conduct
                                   2                    Of The Pending Actions Due To The Risk Of Conflicting And Inconsistent
                                   3                    Ruling By Multiple Courts
                                   4          The Judicial Panel has consistently found that transfer and consolidation under Section
                                   5   1407 will promote the just and efficient conduct of related actions where there is a risk of
                                   6   conflicting and inconsistent ruling by multiple courts on the same issue. In re Butterfield Pat.
                                   7   Infringement, 328 F.Supp. 513, 514–515 (J.P.M.L. 1970); In re Fourth Class Postage Reguls.,
                                   8   298 F Supp. 1326, 1327 (J.P.M.L. 1969); In re Concrete Pipe, 302 F. Supp. 244, 255–56
                                   9   (J.P.M.L. 1969). This consideration has been recognized as a basis for ordering cases to be
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                                  10   transferred under 28 U.S.C. § 1404(a) to avoid the risk of injury to the parties by consistent
      SANTA ANA, CA 92705




                                  11   judicial treatment. In re Butterfield, 328 F.Supp. at 514–515; In re Fourth Class Postage, 298 F
                                  12   Supp. at 1327.
                                  13                    a.    Congress And The Judicial Panel Have Indicated That Class Action
                                  14                          Cases As Appropriate And Necessary For Transfer Due To The Risk
                                  15                          Of Inconsistent And Conflicting Class Determinations
                                  16          Congress when enacting 28 U.S.C. § 1407 identified class action cases as those cases
                                  17   particularly appropriate for transfer and consolidation for Multidistrict Litigation proceedings. In
                                  18   re Plumbing Fixture Cases, 298 F.Supp. 484, 493 (J.P.M.L. 1968). The Judicial Panel has
                                  19   consistently recognized that transfer of class actions under Section 1407 is appropriate and
                                  20   necessary due to likelihood of conflicting and inconsistent class determinations under Rule 23 by
                                  21   courts in different jurisdictions. In re First Nat. Bank, Oklahoma (First Mortgage Revenue
                                  22   Bonds) Securities Litig., 451 F.Supp. 995, 997 (J.P.M.L. 1978); In re Piper Aircraft Distribution
                                  23   Sys. Antitrust Litig., 405 F.Supp. 1402, 1403–04 (J.P.M.L. 1975); In re Natural Resources Fund,
                                  24   Inc. Securities Litig., 372 F.Supp. 1403, 1404 (J.P.M.L. 1974); In re Equity Funding Corp. of
                                  25   America Securities Litig., 375 F.Supp. 1378, 1385-86 (J.P.M.L. 1973). As stated by the Judicial
                                  26   Panel on multiple occasions, class action cases under Federal Rule 23 present highly persuasive
                                  27   if not compelling cases for transfer and consolidation under Section 1407 due to the risk of
                                  28   inconsistent class determinations by different courts. In re Natural Resources Fund, 372 F.Supp.

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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 15
                                                                                              8 ofof9121



                                   1   at 1404 (holding that the presence Rule 23 class allegations presents “highly persuasive in not
                                   2   compelling reason[s] for transfer of all actions to a single judge.”); In re Equity Funding Corp.,
                                   3   375 F.Supp. at 1385-86 (holding that the transfer and consolidation of class action cases is
                                   4   appropriate if not necessary due to the possibility of conflicting and inconsistent class
                                   5   determinations).
                                   6          Three (3) of the Pending Actions contain Rule 23 class allegations based upon various
                                   7   violations of the TCPA. The potential for inconsistent and/or conflicting class determinations is
                                   8   ready apparent. These conflicts include conflicting or inconsistent rulings on class issues, or
                                   9   defenses, the class claims, scope of the class, whether there is one or multiple classes, the parties
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                                  10   in the class, and the class allegations. The transferee judge, with all of the claims and parties
      SANTA ANA, CA 92705




                                  11   before the court, will have a clear picture of the scope and complexity of the litigation, essential
                                  12   to making the class determinations. Because of the potential if not likely conflict of class
                                  13   determinations by multiple courts, the Pending Actions should be transferred and consolidated to
                                  14   a single judge with the sole responsibility from making class determinations.
                                  15                  b.      There Is a Risk Of Inconsistent And/Or Conflicting Rulings On
                                  16                          Motions For Summary Judgment
                                  17          It is well-settled that “pretrial proceedings” for cases transferred and consolidated under
                                  18   Section 1407 encompass ruling on motions for summary judgment.               In re Butterfield Pat.
                                  19   Infringement, 328 F.Supp. 513, 514–515 (J.P.M.L. 1970); David F. Herr, MULTIDISTRICT
                                  20   LITIGATION MANUAL § 9:20 n4 (2014) (citing cases). The Judicial Panel has recognized that risk
                                  21   of inconsistent rulings on summary judgment motions by multiple courts is a compelling factor
                                  22   in favor of transfer and consolidation. In re Butterfield, 328 F.Supp. at 514.
                                  23          Vercy intends to move for summary judgment or partial summary judgment on plaintiffs’
                                  24   causes of action for violations of the TCPA. Plaintiffs may also move for summary judgment or
                                  25   partial summary judgment on their claims or one or more of the defenses raised by Vercy. The
                                  26   outcome of the parties’ motions should be consistent given that all the Pending Actions are based
                                  27   on alleged violations of the TCPA based on virtually identical factual allegations. The outcome
                                  28   may not be consistent in that the various courts before which the Pending Actions are pending

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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 16
                                                                                              9 ofof9121



                                   1   may reach different results or make different factual rulings based on the same facts and law. If
                                   2   the Pending Actions are transferred, the result on any the parties’ summary judgment motions
                                   3   would be the same for all parties and thus transfer is an appropriate means of avoiding injury to
                                   4   like parties caused by inconsistent judicial treatment of summary judgment motions on the same
                                   5   issues by multiple courts. In re Butterfield, 328 F.Supp. at 514.
                                   6                                                    IV.
                                   7                                             CONCLUSION
                                   8          For the foregoing reasons, Vercy respectfully requests that the Judicial Panel grant
                                   9   Vercy’s Motion to Transfer and Consolidate for Pretrial and transfer and consolidate the Pending
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                                  10   Actions listed on the Schedule of Actions filed herewith to the Southern Division for the United
      SANTA ANA, CA 92705




                                  11   States District Court for the Central District of California.
                                  12                                                  PHILLIPS LAW CORPORATION




                                                                                              Brent R. Phillips
                                  13

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                                  15   DATED: August 8, 2022                          By:
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                                  18                                                          E-mail: bphillips@phillipslawcorporation.com
                                  19                                                          Attorneys for Defendant
                                                                                              VERCY, LLC
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
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                                   1   Brent R. Phillips (SBN 235753)
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                                   5
                                       Attorneys for Defendant VERCY L.L.C.
                                   6

                                   7

                                   8                     BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                             ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
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                                  12                                                   SCHEDULE OF ACTIONS
                                  13   IN RE VERCY, L.C.C. TELEPHONE
                                       CONSUMER PROTECTION ACT
                                  14   LITIGATION
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                                                                       13 Filed 08/08/22 Page 18
                                                                                              2 ofof2121



                                   1                   Case Caption                District Court and      Civil Action Number          Judge
                                                                                         Division
                                   2   1.   Richard Wayne Glover,                 Central District of     8:22-cv-01157-CJC-JDE   Judge Cormac J.
                                            individually and on behalf of all     California / Southern                           Carny
                                   3        other similarly situated, v. Vercy,   Division
                                            L.L.C.
                                   4
                                       2.   Shane Scofield, individually and on   Central District of     8:22-cv-01376-DOC-      Judge David O.
                                   5        behalf of all others similarly        California / Southern   ADS                     Carter
                                            situated, v. Vercy, L.L.C.            Division
                                   6
                                       3.   Virginia Johnson-Gruver,              Western District of     3:22-cv-00047-KGB       Judge Kristine G.
                                   7        individually and on behalf of other   Arkansas / Northern                             Baker
                                            similarly situated v. Vercy, L.L.C.   Division
                                   8
                                       4.   Erik Salaiz v. Vercy, L.L.C.and       Western District of     3:22-cv-00224-DB        Judge David
                                   9        Nader Sepehr                          Texas / El Paso                                 Briones
801 PARKCENTER DRIVE, SUITE 105




                                                                                  Division
  PHILLIPS LAW CORPORATION




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      SANTA ANA, CA 92705




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                                                                                            PHILLIPS LAW CORPORATION
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                                                                                                  Brent R. Phillips
                                  13

                                  14
                                       DATED: August 8, 2022                                By:
                                  15                                                                BRENT R. PHILLIPS
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                                                                                                    Attorneys for Defendant
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
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                                                                       13 Filed 08/08/22 Page 19
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                                   8                     BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                             ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
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                                  12                                                   PROOF OF SERVICE
                                  13   IN RE VERCY, L.C.C. TELEPHONE
                                       CONSUMER PROTECTION ACT
                                  14   LITIGATION
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                                                                       13 Filed 08/08/22 Page 20
                                                                                              2 ofof3121



                                   1                                        PROOF OF SERVICE
                                   2           I am a resident of the State of California, over the age of eighteen years, and not a party
                                   3   to the within action. My business address is PHILLIPS LAW CORPORATION, 801 Parkcenter
                                       Drive, Suite 801, Santa Ana, California 92705.
                                   4

                                   5          On August 8, 2022, I served by United States Mail with postage thereon fully paid to the
                                       following parties:
                                   6

                                   7
                                       Mark L. Javitch, Esq.                             Attorneys for Plaintiff BEN FABRIKANT
                                   8   JAVITCH LAW OFFICE                                individually and on behalf of all other
                                       480 S. Ellsworth Avenue                           similarly situated
                                   9   San Mateo, CA 94401
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                                       Tel: (650) 781-8000
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                                  10   Fax: (650) 648-0705
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                                  11   E-mail: mark@javitchlawoffice.com

                                  12   Erik Salaiz                                       Pro Se
                                       319 Valley Fair Way
                                  13   El Paso, TX 79907
                                       Tel: (915) 490-0898
                                  14
                                       E-mail: salaiz.ep@gmail.com
                                  15
                                       Jason Ryburn, Esq.                                Attorneys for Plaintiff VIRGINIA
                                  16   RYBURN LAW FIRM                                   JOHNSON-GRUVER individually and
                                       650 S. Shackleford Road, Suite 231                on behalf of all other similarly situated
                                  17   Little Rock, AR 72211
                                  18   Tel: (501) 228-8100
                                       Fax: (501) 228-7300
                                  19   E-mail: jason@ryburnlawfirm.com

                                  20   Anthony I. Paronich, Esq.
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                                       350 Lincoln Street, Suite 2400
                                  22   Hingham, MA 02043
                                       Tel: (617) 485-0018
                                  23   Fax: (508) 318-8100
                                       E-mail: anthony@paronichlaw.com
                                  24

                                  25   Rachel Blyumkin, Esq.                             Attorneys for Plaintiff RICHARD WAYNE
                                       1001 Wilshire Blvd., Suite 2236                   GLOVER individually and on behalf of all
                                  26   Los Angeles, CA 90017                             other similarly situated
                                       Tel: (833) 952-9669
                                  27   E-mail: rachel@thedebtdefense.com
                                  28


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                                            3:22-cv-00047-KGB
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                                                              Document1-3
                                                                       13 Filed 08/08/22 Page 21
                                                                                              3 ofof3121



                                   1   the following document(s) listed below:
                                   2   VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
                                       CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                   3
                                       VERCY, L.L.C.’S MOTION TO TRANSFER AND CONSOLIDATE FOR PRETRIAL
                                   4
                                       SCHEDULE OF ACTIONS
                                   5
                                       PROOF OF SERVICE
                                   6
                                               [State] I declare under penalty of perjury under the laws of the State of California that
                                   7          the above is true and correct.
                                   8           [Federal] I declare that I am employed in the office of a member of the bar of this
                                              Court at which direction the service was made.
                                   9
801 PARKCENTER DRIVE, SUITE 105




                                              Executed on August 8, 2022, at Santa Ana, California.
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                      Sandra Torres
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                                                                                   ______________________________
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                                                                                            Sandra Torres
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                                                          46ofof14
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     3:22-cv-00047-KGB
       Pending No. 98 Document
                       Document1-5
                                 13 Filed
                                     Filed08/08/22
                                           08/08/22 Page
                                                     Page14
                                                          47ofof14
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                                            3:22-cv-00047-KGB
                                                Pending No. 98 Document
                                                               Document 13
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                                                                                 08/08/22 Page
                                                                                           Page148
                                                                                                 of of
                                                                                                    3 121



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                                   6

                                   7

                                   8                      BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                              ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
                                  11

                                  12                                                   VERCY, L.L.C.’S NOTICE OF MOTION
                                                                                       AND MOTION TO TRANSFER AND
                                  13   IN RE VERCY, L.C.C. TELEPHONE                   CONSOLIDATE FOR PRETRIAL
                                       CONSUMER PROTECTION ACT                         PROCEEDINGS
                                  14   LITIGATION
                                  15

                                  16

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                                  20
                                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                  21
                                              PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. § 1407(c)(ii), VERCY, L.C.C.
                                  22
                                       (“Vercy”) moves to transfer and consolidate to the United States District Court for the Central
                                  23
                                       District of California, Southern Division the four (4) cases listed in the Schedule of Actions
                                  24
                                       (collectively the “Pending Actions”) filed herewith. This Motion is made on the grounds that the
                                  25
                                       Pending Actions involve common questions of fact and transfer and consolidation will serve the
                                  26
                                       convenience of the parties and witnesses and will promote the just and efficient conduct of the
                                  27
                                       cases on the following grounds:
                                  28

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                                                   VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
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                                                Pending No. 98 Document
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                                                                           Filed08/08/22
                                                                                 08/08/22 Page
                                                                                           Page249
                                                                                                 of of
                                                                                                    3 121



                                   1          •   The Pending Actions involve common questions of fact on the grounds that each of the
                                   2              Pending Actions is virtually identical.1 There are multiple common questions of fact.
                                   3              This is because the only causes of actions alleged in the Pending Actions are for or
                                   4              based on violations of the Telephone Consumer Protection Act (the “TCPA”), § 47
                                   5              U.S.C. 227 and are based identical factual allegations.
                                   6          •   Transfer and consolidation under Section 1407 of the Pending Actions serves the
                                   7              convenience of the parties and witnesses in that it will facilitate the efficient conduct of
                                   8              common discovery and eliminate duplicative discovery, prevent inconsistent pretrial
                                   9              discovery rulings and conserve the resources of the parties, their counsel and the
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                                  10              judiciary during the discovery process.
      SANTA ANA, CA 92705




                                  11          •   Transfer and consolidation under Section 1407 of the Pending Actions to the Southern
                                  12              Division for the Central District of California serves the convenience of the parties and
                                  13              witnesses on the grounds that the underlying claims arose, the location of documents,
                                  14              the majority of the witnesses relevant to the underlying claims are located in the
                                  15              Southern Division for the Central District, and two of the four Pending Actions are
                                  16              pending in the Southern Division.
                                  17          •   Three (3) the Pending Actions are class action cases. Transfer and consolidation under
                                  18              Section 1407 of the Pending Actions to the Southern Division for the Central District
                                  19              will promote the just and efficient conduct of the Pending Actions due to the risk of
                                  20              conflicting and inconsistent class determinations under Rule 23 by courts in different
                                  21              jurisdictions as well as inconsistent or conflicting rulings on dispositive motions. The
                                  22              Judicial Panel has stated on multiple occasions that class action cases under Federal
                                  23              Rule 23 present highly persuasive if not compelling cases for transfer and
                                  24              consolidation under Section 1407 due to the risk of inconsistent class determinations
                                  25              by different courts.
                                  26   ///
                                  27
                                       1
                                  28    Three (3) of the Pending Actions are class action cases. The complaints filed in the class action cases are
                                       almost identical and drafted from what appears to be a common form pleading.
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                                                     VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
                                                                CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                            3:22-cv-00047-KGB
                                                Pending No. 98 Document
                                                               Document 13
                                                                        1 Filed
                                                                           Filed08/08/22
                                                                                 08/08/22 Page
                                                                                           Page350
                                                                                                 of of
                                                                                                    3 121



                                   1         This Motion is based on this Notice of Motion and Motion, the Memorandum of Points
                                   2   and Authorities, and Schedule of Actions filed herewith, all documents on file with the Court,
                                   3   and such other argument that may be presented at a hearing on this Motion.
                                   4                                               PHILLIPS LAW CORPORATION




                                                                                         Brent R. Phillips
                                   5

                                   6

                                   7   DATED: August 8, 2022                       By:
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                                  11                                                       Attorneys for Defendant
                                                                                           VERCY, LLC
                                  12

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                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 51
                                                                                              1 ofof9121



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                                   7

                                   8                       BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                                ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                         MDL Case No.:
                                  11

                                  12                                                     MEMORANDUM OF POINTS AND
                                                                                         AUTHORITIES IN SUPPORT OF VERCY,
                                  13   IN RE VERCY, L.C.C. TELEPHONE                     L.L.C.’S MOTION TO TRANSFER AND
                                       CONSUMER PROTECTION ACT                           CONSOLIDATE FOR PRETRIAL
                                  14   LITIGATION                                        PROCEEDINGS
                                  15

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                                                                                        I.
                                  21
                                                             INTRODUCTION / SUMMARY OF ARGUMENT
                                  22
                                              Pursuant to 28 U.S.C. § 1407, VERCY, L.L.C. (“Vercy”) moves to transfer and
                                  23
                                       consolidate to the Federal District Court for the Central District of California, Southern Division
                                  24
                                       four cases (the “Pending Actions”). Three of the cases are class action cases. Section 1407
                                  25
                                       provides for the transfer and consolidation of pending civil actions for pretrial proceedings to
                                  26
                                       Multidistrict Litigation proceedings when (1) there is one or more common questions of fact
                                  27
                                       between civil actions pending in different districts; (2) the transfer will be for the convenience of
                                  28

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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
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                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 52
                                                                                              2 ofof9121



                                   1   the parties and witnesses; and, (3) the transfer will promote the just and efficient conduct of the
                                   2   actions to be consolidated.
                                   3          First, there are multiple common questions of fact between the Pending Actions. As
                                   4   reflected in the complaints attached as exhibits, each of the Pending Actions is virtually identical.
                                   5   The only causes of action alleged are for or based on alleged violations of Telephone Consumer
                                   6   Protection Act (the “TCPA”), § 47 U.S.C. 227 and are based on almost the same factual
                                   7   allegations.
                                   8          Second, transfer and consolidation under Section 1407 of the Pending Actions serves the
                                   9   convenience of the parties and witnesses in that it will facilitate the efficient conduct of common
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                                  10   discovery. The discovery in the Pending Actions will be identical because each of the Pending
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                                  11   Actions alleges the same causes of action for violations of the TCPA based on the same factual
                                  12   allegations. Transfer and consolidation will eliminate duplicative discovery, prevent inconsistent
                                  13   pretrial discovery rulings and conserve the resources of the parties, their counsel and the
                                  14   judiciary during the discovery process.
                                  15          Third, transfer and consolidation to the Southern Division for the Central District of
                                  16   California serves the convenience of the parties and witnesses on the grounds that the underlying
                                  17   claims arose, the location of documents, the majority of the witnesses relevant to the underlying
                                  18   claims are located in the Southern Division, and two of the four Pending Actions are pending in
                                  19   the Southern Division.
                                  20          Fourth, transfer and consolidation will promote the just and efficient conduct of the
                                  21   Pending Actions due to the high risk of conflicting and inconsistent rulings by multiple courts on
                                  22   the same issues. To begin with, three of the cases are class action cases. There is the risk of
                                  23   conflicting and inconsistent class determinations under Rule 23 by courts in different
                                  24   jurisdictions. The Judicial Panel has stated on multiple occasions that class action cases under
                                  25   Federal Rule 23 present highly persuasive if not compelling cases for transfer and consolidation
                                  26   under Section 1407 due to the risk of inconsistent class determinations by different courts.
                                  27   Moreover, the outcome of the parties’ dispositive motions should be consistent in that the facts
                                  28   and law upon which the Pending Actions are based are identical. There is the risk of inconsistent

                                                                                       -2-
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 53
                                                                                              3 ofof9121



                                   1   and conflicting rules on dispositive motions based on the same facts and law were the Pending
                                   2   Actions to proceed for pretrial purposes separately.
                                   3           Because the Pending Actions involve common questions of fact and transfer and
                                   4   consolidation will serve the convenience of the parties and witness and promote the just and
                                   5   efficient conduct of the Pending Actions, Vercy’s Motion to Transfer and Consolidate the
                                   6   Pending Actions to the Southern Division of the Federal District Court for the Central District of
                                   7   California should be GRANTED.
                                   8                                                     II.
                                   9                                      FACTUAL BACKGROUND
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                                  10   A.      Vercy’s Services
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                                  11           Vercy is a tax relief service with its offices located in Orange County, California. Vercy
                                  12   represents taxpayers with tax debts to negotiate with the United States Internal Revenue Service
                                  13   (the “IRS”) their tax debt and qualify for one of the tax relief programs offered by the IRS.
                                  14   Vercy uses the Internet, direct mail, and telemarketing to solicit clients for its tax relief services.
                                  15   B.      The Pending Actions
                                  16           Between February 25, 2022 and June 29, 2022, the Pending Actions were filed against
                                  17   Vercy. The only causes of action alleged in the Pending Actions are for or based on alleged
                                  18   violations of the Telephone Consumer Protection Act (the “TCPA”), § 47 U.S.C. 227. Three of
                                  19   the Pending Actions are class action lawsuits. The Pending Actions include two cases in the
                                  20   Central District of California, one case in the Eastern District of Arkansas, and one case in the
                                  21   Western District of Texas.
                                  22           The TCPA regulates and places restrictions on telemarketing business solicitations. The
                                  23   complaints allege virtually identical allegations that Vercy violated that TCPA by (1) Using an
                                  24   automatic telephone dialing system to initiate a call to plaintiff’s cellular phone; (2) Called
                                  25   plaintiff when plaintiff’s phone number was on the National “Do-Not-Call” (“DNC”) Registry
                                  26   maintained by the Federal Trade Commission; (3) Initiated a telephone call to plaintiff using an
                                  27   artificial or prerecorded voice to deliver a message; (4) Vercy did not have plaintiff’s prior
                                  28   written consent to make the call or have an established business relationship with plaintiff; and,

                                                                                         -3-
                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                  TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 54
                                                                                              4 ofof9121



                                   1   (5) Vercy’s violations of the TCPA were knowing and willful.1
                                   2                                                       III.
                                   3                                    ARGUMENT AND AUTHORIES.
                                   4   A.      Standard For Consolidation And Transfer
                                   5           28 U.S.C. § 1407 provides for the transfer and consolidation of pending civil actions for
                                   6   pretrial proceedings to Multidistrict Litigation proceedings when (1) there is one or more
                                   7   common questions of fact between civil actions pending in different districts; (2) the transfer will
                                   8   be for the convenience of the parties and witnesses; and, (3) the transfer will promote the just and
                                   9   efficient conduct of the actions to be consolidated. 28 U.S.C.A. § 1407(a) (West 2022); see also
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                                  10   In re Asbestos Prod. Liability. Litig. (No. VI), 771 F. Supp. 415 (J.P.M.L. 1991); In re
      SANTA ANA, CA 92705




                                  11   Griseofulvin Antitrust Litig., 395 F. Supp. 1402, 1403 (J.P.M.L. 1975).
                                  12           1.      The Pending Actions Raise The Exact Same Questions Of Fact
                                  13           Each of the cases filed against Vercy is virtually identical.2 Each of the complaints
                                  14   alleges one or more causes of action for violations of the TCPA or causes of action where the
                                  15   underlying facts and liability are based on a violation of the TCPA. The cases raise the exact
                                  16   same questions of fact of whether Vercy violated the TCPA when it allegedly called plaintiffs.
                                  17   These questions of fact include: (1) Whether Vercy used an automatic telephone dialing system
                                  18   to initiate a call to plaintiffs’ cellular phone; (2) Whether Vercy called plaintiffs when their
                                  19   phone numbers were on the DNC Registry; (3) Whether Vercy knew that plaintiffs’ phone
                                  20   numbers were listed on the DNC; (4) Whether Vercy initiated a telephone call to plaintiffs using
                                  21   an artificial or prerecorded voice to deliver a message; (5) Whether or not Vercy had plaintiffs’
                                  22   prior written consent to make the calls or had an established business relationship with plaintiffs;
                                  23

                                  24   1
                                        In Shane Scofield v. Vercy, L.L.C., California Central District case number 8:22-cv-01376, plaintiff
                                  25   alleges a cause of action based on a violation of the California Business & Professions Code § 17200. In
                                       Erik Salaiz v. Vercy, L.L.C., et al., Western Texas District case number 3:22-cv-00224, plaintiff alleges a
                                  26   cause of action based on a violation of the Texas Business & Commerce Code § 305.053. In both cases,
                                       plaintiffs’ state law causes of action are not based on facts or legal theories separate from the alleged
                                  27   TCPA violations. The causes of action are entirely based on alleged violations of the TCPA.
                                       2
                                  28    Counsel for the class action cases appear to have filed almost identical complaints.

                                                                                           -4-
                                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                    TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 55
                                                                                              5 ofof9121



                                   1   and, (6) Whether Vercy’s alleged violations of the TCPA were knowing and willful.3
                                   2           2.      Transfer And Consolidation Of The Pending Actions In The United States
                                   3                   District Court For The Central District Of California Will Serve The
                                   4                   Convenience Of The Parties And Witnesses
                                   5                   a.      Transfer And Consolidation Will Serve The Convenience Of The
                                   6                           Parties And Witnesses By Facilitating The Efficient Conduct of
                                   7                           Discovery
                                   8           The primary factor when determining if transfer and consolidation under Section 1407
                                   9   will be for the convenience of the parties and witnesses is whether transfer and consolidation is
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                                  10   necessary to facilitate the efficient conduct of common discovery. In re Mirena IUS
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                                  11   Levonorgestrel-Related Prod. Liab. Litig. (No. II), 249 F.Supp.3d 1357, 1360 (J.P.L.M. 2017); In
                                  12   re: Wright Medical Tech. Inc. v. Conserve Hip Implant Products Liability Litig., 844 F.Supp.2d
                                  13   1371, 1372 (J.P.L.M. 2012) (noting that transfer is warranted where centralization of discovery
                                  14   will eliminate duplicative discovery, prevent inconsistent pretrial rulings on discovery); In re
                                  15   Tri-State Water Rights. Litig., 481 F.Supp.2d 1351, 1352 (J.P.M.L. 2007). The Judicial Panel
                                  16   has consistently emphasized the need for centralization to eliminate duplicative discovery,
                                  17   prevent inconsistent pretrial discovery rulings in order to conserve the resources of the parties,
                                  18   their counsel and the judiciary. In re: TLI Commc'ns LLC Pat. Litig., 26 F.Supp.3d 1396, 1397
                                  19   (J.P.M.L. 2014); In re: £Maxim Integrated Prod., Inc., Pat. Litig., 867 F.Supp.2d 1333, 1334-35
                                  20   (J.P.M.L. 2012).
                                  21           Here, there is no question that transfer and consolidation under Section 1407 of the
                                  22   Pending Actions will facilitate the efficient conduct of common discovery. The Pending Actions
                                  23   share common issues of fact regarding Vercy’s alleged telephone solicitation and will involve
                                  24   the exact same factual discovery. The exact same documents will be produced in each of the
                                  25
                                       3
                                  26    In Shane Scofield v. Vercy, L.L.C., California Central District case number 8:22-cv-01376, plaintiff
                                       alleges a cause of action based on a violation of the California Business & Professions Code § 17200. In
                                  27   Erik Salaiz v. Vercy, L.L.C., et al., Western Texas District case number 3:22-cv-00224, plaintiff alleges a
                                       cause of action based on a violation of the Texas Business & Commerce Code § 305.053. In both cases,
                                  28   plaintiffs’ state law causes of action are not based on facts or legal theories separate from the alleged
                                       TCPA violations. The causes of action are entirely based on alleged violations of the TCPA.
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                                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                    TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 56
                                                                                              6 ofof9121



                                   1   Pending Actions. The exact same witnesses will be deposed in each of the Pending Actions.
                                   2   The exact same interrogatories will be propounded in each of the Pending Actions. The transfer
                                   3   and consolidation of the Pending Actions will eliminate duplicative discovery. It will also
                                   4   prevent inconsistent pretrial rulings on discovery and conserve the resources of the parties, their
                                   5   counsel and the judiciary.
                                   6                  2.      Transfer And Consolidation Serves The Convenience Of The Parties
                                   7                          And Witnesses Because The Relevant Documents And Witnesses Are
                                   8                          Located In The Central District Of California
                                   9          The Judicial Panel considers where the underlying claims arose, the location of
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                                  10   documents and the majority of the witnesses relevant to the underlying claims are located to
      SANTA ANA, CA 92705




                                  11   determine if pending cases should be consolidated and transferred to a particular federal district
                                  12   court. In re Equity Funding Corp. of America Securities Litig., 375 F.Supp. 1378, 1387 (J.P.M.L.
                                  13   1973). Transfer and consolidation under Section 1407 to the district where the claims arose, and
                                  14   relevant documents and witnesses are located best serves the convenience of the parties and
                                  15   witnesses and promote the just and efficient conduct of the litigation. Id.
                                  16          Here, the Pending Actions should be consolidated and transferred to the Southern
                                  17   Division for the Central District of California for the convenience of the parties and witnesses
                                  18   and promote the just and efficient conduct of the ligation for multiple reasons. First, two of the
                                  19   class actions are pending in the Southern Division for the Central District. Second, Vercy is a
                                  20   California limited liability company with its offices in the Southern Division. Third, Vercy’s
                                  21   employees and other witnesses reside in the Southern Division for the Central District. Fourth,
                                  22   all of the documents to be produced by Vercy and reviewed by counsel are located in the
                                  23   Southern Division Central District.      Moreover, transfer and consolidation in the Southern
                                  24   Division for the California Central District imposes no burden on plaintiffs because “a Section
                                  25   1407 transfer is for pretrial proceedings only, there is usually no need for the parties and
                                  26   witnesses to travel to the transferee district for depositions or otherwise.” In re Bristol Bay,
                                  27   Alaska, Salmon Fishery Antitrust Litig., 424 F.Supp. 504, 506 (J.P.M.L. 1976).
                                  28   ///

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                                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                  TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 57
                                                                                              7 ofof9121



                                   1          3.        Transfer And Consolidation Will Promote The Just And Efficient Conduct
                                   2                    Of The Pending Actions Due To The Risk Of Conflicting And Inconsistent
                                   3                    Ruling By Multiple Courts
                                   4          The Judicial Panel has consistently found that transfer and consolidation under Section
                                   5   1407 will promote the just and efficient conduct of related actions where there is a risk of
                                   6   conflicting and inconsistent ruling by multiple courts on the same issue. In re Butterfield Pat.
                                   7   Infringement, 328 F.Supp. 513, 514–515 (J.P.M.L. 1970); In re Fourth Class Postage Reguls.,
                                   8   298 F Supp. 1326, 1327 (J.P.M.L. 1969); In re Concrete Pipe, 302 F. Supp. 244, 255–56
                                   9   (J.P.M.L. 1969). This consideration has been recognized as a basis for ordering cases to be
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                                  10   transferred under 28 U.S.C. § 1404(a) to avoid the risk of injury to the parties by consistent
      SANTA ANA, CA 92705




                                  11   judicial treatment. In re Butterfield, 328 F.Supp. at 514–515; In re Fourth Class Postage, 298 F
                                  12   Supp. at 1327.
                                  13                    a.    Congress And The Judicial Panel Have Indicated That Class Action
                                  14                          Cases As Appropriate And Necessary For Transfer Due To The Risk
                                  15                          Of Inconsistent And Conflicting Class Determinations
                                  16          Congress when enacting 28 U.S.C. § 1407 identified class action cases as those cases
                                  17   particularly appropriate for transfer and consolidation for Multidistrict Litigation proceedings. In
                                  18   re Plumbing Fixture Cases, 298 F.Supp. 484, 493 (J.P.M.L. 1968). The Judicial Panel has
                                  19   consistently recognized that transfer of class actions under Section 1407 is appropriate and
                                  20   necessary due to likelihood of conflicting and inconsistent class determinations under Rule 23 by
                                  21   courts in different jurisdictions. In re First Nat. Bank, Oklahoma (First Mortgage Revenue
                                  22   Bonds) Securities Litig., 451 F.Supp. 995, 997 (J.P.M.L. 1978); In re Piper Aircraft Distribution
                                  23   Sys. Antitrust Litig., 405 F.Supp. 1402, 1403–04 (J.P.M.L. 1975); In re Natural Resources Fund,
                                  24   Inc. Securities Litig., 372 F.Supp. 1403, 1404 (J.P.M.L. 1974); In re Equity Funding Corp. of
                                  25   America Securities Litig., 375 F.Supp. 1378, 1385-86 (J.P.M.L. 1973). As stated by the Judicial
                                  26   Panel on multiple occasions, class action cases under Federal Rule 23 present highly persuasive
                                  27   if not compelling cases for transfer and consolidation under Section 1407 due to the risk of
                                  28   inconsistent class determinations by different courts. In re Natural Resources Fund, 372 F.Supp.

                                                                                       -7-
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                       Case
                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 58
                                                                                              8 ofof9121



                                   1   at 1404 (holding that the presence Rule 23 class allegations presents “highly persuasive in not
                                   2   compelling reason[s] for transfer of all actions to a single judge.”); In re Equity Funding Corp.,
                                   3   375 F.Supp. at 1385-86 (holding that the transfer and consolidation of class action cases is
                                   4   appropriate if not necessary due to the possibility of conflicting and inconsistent class
                                   5   determinations).
                                   6          Three (3) of the Pending Actions contain Rule 23 class allegations based upon various
                                   7   violations of the TCPA. The potential for inconsistent and/or conflicting class determinations is
                                   8   ready apparent. These conflicts include conflicting or inconsistent rulings on class issues, or
                                   9   defenses, the class claims, scope of the class, whether there is one or multiple classes, the parties
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                                  10   in the class, and the class allegations. The transferee judge, with all of the claims and parties
      SANTA ANA, CA 92705




                                  11   before the court, will have a clear picture of the scope and complexity of the litigation, essential
                                  12   to making the class determinations. Because of the potential if not likely conflict of class
                                  13   determinations by multiple courts, the Pending Actions should be transferred and consolidated to
                                  14   a single judge with the sole responsibility from making class determinations.
                                  15                  b.      There Is a Risk Of Inconsistent And/Or Conflicting Rulings On
                                  16                          Motions For Summary Judgment
                                  17          It is well-settled that “pretrial proceedings” for cases transferred and consolidated under
                                  18   Section 1407 encompass ruling on motions for summary judgment.               In re Butterfield Pat.
                                  19   Infringement, 328 F.Supp. 513, 514–515 (J.P.M.L. 1970); David F. Herr, MULTIDISTRICT
                                  20   LITIGATION MANUAL § 9:20 n4 (2014) (citing cases). The Judicial Panel has recognized that risk
                                  21   of inconsistent rulings on summary judgment motions by multiple courts is a compelling factor
                                  22   in favor of transfer and consolidation. In re Butterfield, 328 F.Supp. at 514.
                                  23          Vercy intends to move for summary judgment or partial summary judgment on plaintiffs’
                                  24   causes of action for violations of the TCPA. Plaintiffs may also move for summary judgment or
                                  25   partial summary judgment on their claims or one or more of the defenses raised by Vercy. The
                                  26   outcome of the parties’ motions should be consistent given that all the Pending Actions are based
                                  27   on alleged violations of the TCPA based on virtually identical factual allegations. The outcome
                                  28   may not be consistent in that the various courts before which the Pending Actions are pending

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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
                                                 TRANSFER AND CONSOLIDATE FOR PRETRIAL PROCEEDINGS
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                                          Case
                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-1
                                                                       13 Filed 08/08/22 Page 59
                                                                                              9 ofof9121



                                   1   may reach different results or make different factual rulings based on the same facts and law. If
                                   2   the Pending Actions are transferred, the result on any the parties’ summary judgment motions
                                   3   would be the same for all parties and thus transfer is an appropriate means of avoiding injury to
                                   4   like parties caused by inconsistent judicial treatment of summary judgment motions on the same
                                   5   issues by multiple courts. In re Butterfield, 328 F.Supp. at 514.
                                   6                                                    IV.
                                   7                                             CONCLUSION
                                   8          For the foregoing reasons, Vercy respectfully requests that the Judicial Panel grant
                                   9   Vercy’s Motion to Transfer and Consolidate for Pretrial and transfer and consolidate the Pending
801 PARKCENTER DRIVE, SUITE 105
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                                  10   Actions listed on the Schedule of Actions filed herewith to the Southern Division for the United
      SANTA ANA, CA 92705




                                  11   States District Court for the Central District of California.
                                  12                                                  PHILLIPS LAW CORPORATION




                                                                                              Brent R. Phillips
                                  13

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                                  15   DATED: August 8, 2022                          By:
                                                                                              BRENT R. PHILLIPS
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                                  19                                                          Attorneys for Defendant
                                                                                              VERCY, LLC
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                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF VERCY, L.L.C.’S MOTION TO
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-2
                                                                       13 Filed 08/08/22 Page 60
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                                   1   Brent R. Phillips (SBN 235753)
                                       Ronald A. Gorrie (SBN 180477)
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                                   5
                                       Attorneys for Defendant VERCY L.L.C.
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                                   7

                                   8                     BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                             ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
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                                  12                                                   SCHEDULE OF ACTIONS
                                  13   IN RE VERCY, L.C.C. TELEPHONE
                                       CONSUMER PROTECTION ACT
                                  14   LITIGATION
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-2
                                                                       13 Filed 08/08/22 Page 61
                                                                                              2 ofof2121



                                   1                   Case Caption                District Court and      Civil Action Number          Judge
                                                                                         Division
                                   2   1.   Richard Wayne Glover,                 Central District of     8:22-cv-01157-CJC-JDE   Judge Cormac J.
                                            individually and on behalf of all     California / Southern                           Carny
                                   3        other similarly situated, v. Vercy,   Division
                                            L.L.C.
                                   4
                                       2.   Shane Scofield, individually and on   Central District of     8:22-cv-01376-DOC-      Judge David O.
                                   5        behalf of all others similarly        California / Southern   ADS                     Carter
                                            situated, v. Vercy, L.L.C.            Division
                                   6
                                       3.   Virginia Johnson-Gruver,              Western District of     3:22-cv-00047-KGB       Judge Kristine G.
                                   7        individually and on behalf of other   Arkansas / Northern                             Baker
                                            similarly situated v. Vercy, L.L.C.   Division
                                   8
                                       4.   Erik Salaiz v. Vercy, L.L.C.and       Western District of     3:22-cv-00224-DB        Judge David
                                   9        Nader Sepehr                          Texas / El Paso                                 Briones
801 PARKCENTER DRIVE, SUITE 105




                                                                                  Division
  PHILLIPS LAW CORPORATION




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      SANTA ANA, CA 92705




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                                                                                            PHILLIPS LAW CORPORATION
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                                                                                                  Brent R. Phillips
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                                       DATED: August 8, 2022                                By:
                                  15                                                                BRENT R. PHILLIPS
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                                            3:22-cv-00047-KGB
                                               Pending No. 98 Document
                                                              Document1-3
                                                                       13 Filed 08/08/22 Page 62
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                                   1   Brent R. Phillips (SBN 235753)
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                                   7

                                   8                     BEFORE THE UNITED STATES JUDICIAL PANEL
                                   9                             ON MULTIDISTRICT LITIGATION
801 PARKCENTER DRIVE, SUITE 105
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                       MDL Case No.:
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                                  12                                                   PROOF OF SERVICE
                                  13   IN RE VERCY, L.C.C. TELEPHONE
                                       CONSUMER PROTECTION ACT
                                  14   LITIGATION
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                                                                       13 Filed 08/08/22 Page 63
                                                                                              2 ofof3121



                                   1                                        PROOF OF SERVICE
                                   2           I am a resident of the State of California, over the age of eighteen years, and not a party
                                   3   to the within action. My business address is PHILLIPS LAW CORPORATION, 801 Parkcenter
                                       Drive, Suite 801, Santa Ana, California 92705.
                                   4

                                   5          On August 8, 2022, I served by United States Mail with postage thereon fully paid to the
                                       following parties:
                                   6

                                   7
                                       Mark L. Javitch, Esq.                             Attorneys for Plaintiff BEN FABRIKANT
                                   8   JAVITCH LAW OFFICE                                individually and on behalf of all other
                                       480 S. Ellsworth Avenue                           similarly situated
                                   9   San Mateo, CA 94401
801 PARKCENTER DRIVE, SUITE 105




                                       Tel: (650) 781-8000
  PHILLIPS LAW CORPORATION




                                  10   Fax: (650) 648-0705
      SANTA ANA, CA 92705




                                  11   E-mail: mark@javitchlawoffice.com

                                  12   Erik Salaiz                                       Pro Se
                                       319 Valley Fair Way
                                  13   El Paso, TX 79907
                                       Tel: (915) 490-0898
                                  14
                                       E-mail: salaiz.ep@gmail.com
                                  15
                                       Jason Ryburn, Esq.                                Attorneys for Plaintiff VIRGINIA
                                  16   RYBURN LAW FIRM                                   JOHNSON-GRUVER individually and
                                       650 S. Shackleford Road, Suite 231                on behalf of all other similarly situated
                                  17   Little Rock, AR 72211
                                  18   Tel: (501) 228-8100
                                       Fax: (501) 228-7300
                                  19   E-mail: jason@ryburnlawfirm.com

                                  20   Anthony I. Paronich, Esq.
                                       PARONICH LAW P.C.
                                  21
                                       350 Lincoln Street, Suite 2400
                                  22   Hingham, MA 02043
                                       Tel: (617) 485-0018
                                  23   Fax: (508) 318-8100
                                       E-mail: anthony@paronichlaw.com
                                  24

                                  25   Rachel Blyumkin, Esq.                             Attorneys for Plaintiff RICHARD WAYNE
                                       1001 Wilshire Blvd., Suite 2236                   GLOVER individually and on behalf of all
                                  26   Los Angeles, CA 90017                             other similarly situated
                                       Tel: (833) 952-9669
                                  27   E-mail: rachel@thedebtdefense.com
                                  28


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                                            3:22-cv-00047-KGB
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                                                              Document1-3
                                                                       13 Filed 08/08/22 Page 64
                                                                                              3 ofof3121



                                   1   the following document(s) listed below:
                                   2   VERCY, L.L.C.’S NOTICE OF MOTION AND MOTION TO TRANSFER AND
                                       CONSOLIDATE FOR PRETRIAL PROCEEDINGS
                                   3
                                       VERCY, L.L.C.’S MOTION TO TRANSFER AND CONSOLIDATE FOR PRETRIAL
                                   4
                                       SCHEDULE OF ACTIONS
                                   5
                                       PROOF OF SERVICE
                                   6
                                               [State] I declare under penalty of perjury under the laws of the State of California that
                                   7          the above is true and correct.
                                   8           [Federal] I declare that I am employed in the office of a member of the bar of this
                                              Court at which direction the service was made.
                                   9
801 PARKCENTER DRIVE, SUITE 105




                                              Executed on August 8, 2022, at Santa Ana, California.
  PHILLIPS LAW CORPORATION




                                  10
      SANTA ANA, CA 92705




                                                                                      Sandra Torres
                                  11
                                                                                   ______________________________
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                                                                                            Sandra Torres
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        Pending No. 98 Document
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        Pending No. 98 Document
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        Pending No. 98 Document
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                                                   Page19
                                                        109
                                                          ofof
                                                             31121
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  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page20
                                                        110
                                                          ofof
                                                             31121
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  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page21
                                                        111
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page22
                                                        112
                                                          ofof
                                                             31121
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     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
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                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page23
                                                        113
                                                          ofof
                                                             31121
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  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page24
                                                        114
                                                          ofof
                                                             31121
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  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page25
                                                        115
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page26
                                                        116
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page27
                                                        117
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page28
                                                        118
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page29
                                                        119
                                                          ofof
                                                             31121
Case
  Case
     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page30
                                                        120
                                                          ofof
                                                             31121
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     3:22-cv-00047-KGB
        Pending No. 98 Document
                        Document1-7
                                 13 Filed
                                    Filed08/08/22
                                          08/08/22 Page
                                                   Page31
                                                        121
                                                          ofof
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